                    UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

In re:

Ark Laboratory, LLC                                   Case No. 23-43403-MLO
                                                      Chapter 11
         Debtor.                                      Hon. Maria L. Oxholm
                                 /



                   SECOND AMENDED PLAN OF LIQUIDATION
                        OF ARK LABORATORY, LLC




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       NOW COMES, Ark Laboratory, LLC (the “Debtor”), through counsel, and
states as follows:

                           INTRODUCTION TO PLAN

     Pursuant to title 11 of the United States Code, 11 U.S.C. §§ 101 et seq., the
Debtor proposes the following Plan pursuant to Chapter 11 of the Bankruptcy Code.

       The Plan is a liquidating plan. Debtor filed a motion to sell substantially all of
its assets in a Bankruptcy Court approved Sale. The Plan provides for the distribution
of certain proceeds from the Sale and the creation of a Liquidating Trust that will
administer all remaining property of the Debtor, including the Avoidance Actions
and the Covid Testing Claims. If the Sale has not been consummated prior to the
Effective Date, the Sale may occur and be consummated by the Liquidating Trustee,
after consultation with Auxo. The Plan provides that the Committee shall be
reconstituted on the Effective Date as the Post-Confirmation Committee.

                          ARTICLE I
          DEFINED TERMS AND RULES OF INTERPRETATION

A.    Rules of Interpretation

       For purposes herein: (a) in the appropriate context, each term, whether stated
in the singular or the plural, shall include both the singular and the plural, and
pronouns stated in masculine, feminine or neuter gender shall include the masculine,
feminine, and the neuter gender; (b) any reference herein to a contract, instrument,
release, or other agreement or document being in a particular form or on particular
terms and conditions means that the referenced document shall be substantially in
that form or substantially on those terms and conditions; (c) any reference herein to
an existing document or exhibit having been filed or to be filed shall mean that
document or exhibit, as it may thereafter be amended, modified or supplemented;
(d) unless otherwise specified, all references herein to “Articles” are references to
Articles hereof or hereto; (e) the words “herein,” “hereof” and “hereto” refer to the
Plan in its entirety rather than to a particular portion of the Plan; (f) captions and
headings to Articles are inserted for convenience of reference only and are not
intended to be part of or to affect the interpretation hereof; (g) the rules of
construction set forth in section 103 of the Bankruptcy Code shall apply; and (h) any
term used in capitalized form herein that is not otherwise defined but that is used in
the Bankruptcy Code or the Bankruptcy Rules shall have the meaning assigned to

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that term in the Bankruptcy Code or the Bankruptcy Rules, as the case may be.

B.    Defined Terms

      Unless the context otherwise requires, the following terms shall have the
following meanings when used in capitalized form herein:

       1.      “Accrued Professional Compensation” means, at any given moment, all
accrued and/or unpaid fees and expenses (including, but not limited to, fees or
expenses allowed or awarded by a Final Order of the Bankruptcy Court or any other
court of competent jurisdiction) for legal, financial advisory, accounting and other
services and reimbursement of expenses that are awardable and allowable under,
inter alia, sections 328, 330(a), or 331 of the Bankruptcy Code or otherwise rendered
prior to the Effective Date by all Retained Professionals in the Chapter 11 Case that
the Bankruptcy Court has not denied by a Final Order, to the extent that any such
fees and expenses have not been previously paid regardless of whether a fee
application has been filed for any such amount. To the extent that the Bankruptcy
Court or any higher court denies by a Final Order any amount of a Retained
Professional’s fees or expenses, then those amounts shall be turned over to the
Liquidating Trustee for payment of professional fees incurred by the Liquidating
Trustee in administering the Liquidating Trust.

      2.     “Administrative Claims” means Claims or rights to payment as an
administrative expense that have been timely filed, pursuant to the deadline and
procedure set forth in the Plan (except as otherwise provided by a separate order of
the Bankruptcy Court), for costs and expenses of administration under sections
503(b) or 507(b) of the Bankruptcy Code, including, but not limited to: (a) the actual
and necessary costs and expenses incurred after the Petition Date of preserving the
Estate and operating the business of the Debtor (such as wages, salaries, or
commissions for services and payments for goods and other services and leased
premises); (b) Accrued Professional Compensation; and (c) all fees and charges
assessed against the Estates under chapter 123 of title 28 United States Code, 28
U.S.C. §§ 1911-1930. For purposes of clarification, administrative expenses are
Administrative Claims for purposes of the Plan.

       3.     Administrative Claims Bar Date” is a date to be set by the Court
pursuant to a motion to be filed by Debtor for allowance of an Administrative Claim
arising on or before the Administrative Claims Bar Date. For claims arising after the
Administrative Claims Bar Date and prior to confirmation, the Administrative

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Claims Bar Date for such administrative expenses shall be thirty (30) days after the
Effective Date, subject to a motion filed with the Bankruptcy Court and served on
the Liquidating Trustee.

       4.    “Allowed” means, with respect to any Claim (including Administrative
Claim) or Equity Interest, except as otherwise provided herein: (a) a Claim or Equity
Interest that has been scheduled by the Debtor in the Schedules as other than
Disputed as to which the Debtor or other party in interest has not filed an objection
by the applicable bar date established under the Plan or the Liquidating Trust; (b) a
Claim or Equity Interest that either is not Disputed or has been Allowed by a Final
Order; (c) a Claim or Equity Interest that is Allowed: (i) in any stipulation and order
approved by the Bankruptcy Court, or (ii) in any stipulation with the Liquidating
Trustee executed on or after the entry of a Final Confirmation Order; (d) a Claim or
Equity Interest that is allowed pursuant to the terms hereof; or (e) a Disputed Claim
as to which a proof of Claim or request for allowance has been timely filed and as
to which no objection has been timely filed.

      5.   “Allowed Amount” means the agreed upon or adjudicated amount of
an Allowed Claim.

     6.     “Auxo” means Auxo Investment Partners, LLC, as successor in interest
to Comerica and Peninsula.

      7.     “Avoidance Actions” means any and all avoidance, recovery,
subordination or other actions or remedies that may be brought on behalf of the
Debtor or their estates under the Bankruptcy Code or applicable non-bankruptcy law,
including, without limitation, actions or remedies under sections 510, 542-553 of the
Bankruptcy Code.

      8.     “Bankruptcy Court” means the United States Bankruptcy Court for the
Eastern District of Michigan, Southern Division.

       9.     “Bankruptcy Rules” or “Rules” means the Federal Rules of Bankruptcy
Procedure, and any amendments thereto. To the extent applicable, Bankruptcy Rules
also refers to the Local Rules of the U.S. District Court for the Eastern District of
Michigan, as amended and the Local Bankruptcy Rules for the Eastern District of
Michigan, as amended.

      10.    “Beneficiary” or “Beneficiaries” or “Liquidating Trust Beneficiary or

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“Liquidating Trust Beneficiaries” mean(s) the holder of an Allowed Claim or
Interest that receives a beneficial interest in the Liquidating Trust in accordance with
the Plan.

      11. “Business Day” means any day, other than a Saturday, Sunday or “legal
holiday” (as that term is defined in Fed.R.Bankr.P. 9006(a)).

       12. “Carveouts” means that amount Auxo has agreed to carve out from its
collateral pursuant to orders of the Court for the payment of (i) Accrued Professional
Compensation, (ii) United States Trustee Fees, (iii) Allowed Administrative
Expenses that have not been paid prior to the Effective Date, (iv) Allowed Priority
Claims that have not otherwise been paid prior to the Effective Date, and (iv) the
funds advanced by Auxo for insurance and other costs for the Liquidating Trustee
pursuant to the Second Amended Stipulated Final Order Authorizing Use of Cash
Collateral and Granting Adequate Protection [ECF No. 370].

      13.    “Cash” means legal tender of the United States of America or the
equivalent thereof.

       14. “Causes of Action” means all claims, actions, causes of action, choses
in action, suits, debts, dues, sums of money, accounts, reckonings, bonds, bills,
specialties, covenants, contracts, controversies, agreements, promises, variances,
trespasses, damages, judgments, remedies, third-party claims, subrogation claims,
contribution claims, reimbursement claims, indemnity claims, counterclaims, and
cross claims, including, but not limited to, all claims and any avoidance, recovery,
subordination or other actions against insiders and/or any other entities under the
Bankruptcy Code, including Avoidance Actions and those actions set forth on
Exhibit B to this Plan, in the Plan Supplement or that may be pending on the
Confirmation Date, assigned to Liquidating Trustee on the Confirmation Date, or
instituted by the Liquidating Trustee after the Confirmation Date against any entity,
based in law or equity, including, but not limited to, under the Bankruptcy Code,
whether direct, indirect, derivative, or otherwise and whether asserted or unasserted
as of the date of entry of the Confirmation Order.

       15. “Chapter 11 Case” means the case commenced when the Debtor filed
its voluntary petition for relief under chapter 11 of the Bankruptcy Code on the
Petition Date, under Case Number 23-43403.

      16.    “Claim” means a “claim” (as that term is defined in section 101(5) of
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the Bankruptcy Code) against the Debtor, and administrative expenses.

       17. “Claims Objection Bar Date” means the bar date for objecting to proofs
of Claim or administrative expense Claims. The bar date for objecting to prepetition
claims shall be nine (9) months days after the Effective Date; provided, however,
that the Liquidating Trustee may seek extensions of this date from the Bankruptcy
Court. Administrative Claims have a different bar date as set forth herein.

       18. “Class” means a class of holders of Claims or Interests described in
Article III of this Plan.

        19.   “CMS” means Centers for Medicare and Medicaid Services.

        20.   “Comerica” means Comerica Bank, N.A.

      21. “Committee” means the Official Committee of Unsecured Creditors
that was appointed by the U.S. Trustee pursuant to section 1102(a)(1) of the
Bankruptcy Code in this Chapter 11 Case.

      22.     “Confirmation Date” means the date that the Confirmation Order is
entered.

        23.   “Confirmation Hearing” means the hearing on the confirmation of the
Plan.

      24. “Confirmation Order” means the order of the Bankruptcy Court
confirming the Plan pursuant to section 1129 of the Bankruptcy Code.

       25. “Covid Testing Claims” means those outstanding Covid-19 testing
claims with each of the Debtor’s health insurance providers and governmental
entities that are being pursued by Special Counsel.

       26. “Credit Bid” means the $2,000,000 amount bid for substantially all of
the assets pursuant to the Sale Motion, as modified.

        27.   “Debtor” means Ark Laboratory, LLC.

     28. “Disputed” means, with respect to any Claim or Equity Interest, any
Claim or Equity Interest: (a) listed on the Schedules as unliquidated, disputed or

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contingent: (b) as to which Debtor or another party in interest has interposed a timely
objection or request for estimation in accordance with the Bankruptcy Code and the
Bankruptcy Rules; or (c) as otherwise disputed by Debtor or a party in interest in
accordance with applicable law, which objection, request for estimation or dispute
has not been withdrawn or determined by a Final Order.

      29. “Distribution” means any distribution pursuant to the Plan and the
Liquidating Trust to the holders of Allowed Claims or pursuant to Bankruptcy Court
Order.

      30. “Distribution Amount” means the amount of a distribution made to
holders of Allowed Claims entitled to receive Distributions in accordance with the
terms and provisions of this Plan and the Liquidating Trust Agreement

       31. “Distribution Date” means the date upon which a Distribution is made
by the Liquidating Trustee in accordance with the Plan to holders of Allowed Claims
entitled to receive Distributions under the Plan or under the Liquidating Trust
Agreement.

       32. “Distribution Reserve” means those accounts that may be established
by the Liquidating Trustee with sufficient income to pay holders of Disputed Claims
if such Disputed Claims become Allowed Claims.

     33. “Distribution Schedule” means the payments set forth in ARTICLE II
TREATMENT OF CLAIMANTS NOT SUBJECT TO CLASSIFICATION OR
OTHERWISE NOT REQUIRED TO VOTE FOR OR AGAINST THE PLAN, and
ARTICLE III, SPECIFICATION OF TREATMENT OF CLASSES OF CLAIMS
OR INTERESTS NOT IMPAIRED UNDER PLAN AND THOSE IMPAIRED
UNDER THE PLAN of the Plan.

       34. “DOJ Claim” means the proof of claim(s) filed by the USA in relation
to the Qui Tam Complaint or other investigations by the DOJ.

      35. “Effective Date” means the later of (i) the date the 2022 U.S.
Corporation Income Tax Return is filed by the Debtor, or (ii) the first date that is a
Business Day after the Confirmation Order becomes a Final Order.

       36. “Entity” includes any and all persons as defined in 11 U.S.C § 101(15),
estates, trusts, governmental units, and the United States Trust.

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       37. “Equity Interest” or “Interest” mean(s) any equity interest in a Debtor
that existed immediately prior to the Petition Date, including, but not limited to: any
common equity interest in a Debtor that existed immediately prior to the Petition
Date, including, but not limited to, all issued, unissued, authorized or outstanding
shares of common stock, together with any warrants, options or legal contractual or
equitable rights to purchase or acquire such interests at any time; and (b) any
preferred equity interest in a Debtor that existed immediately prior to the Petition
Date, including, but not limited to, all issued, unissued, authorized or outstanding
shares of preferred stock, together with any warrants, options or legal, contractual or
equitable rights to purchase or acquire such interests.

       38. “Estate” means the estate of the Debtor created on the Petition Date by,
inter alia, section 541 of the Bankruptcy Code.

       39. “Final Order” means an order or judgment of the Bankruptcy Court, or
other court of competent jurisdiction with respect to the subject matter, which has
not been reversed, stayed, modified or amended, as to which the time to appeal,
petition for certiorari or move for reargument or rehearing has expired and no appeal
or petition for certiorari has been timely taken, or as to which any appeal that has
been taken or any petition for certiorari that has been or may be filed has been
resolved by the highest court to which the order or judgment was appealed or from
which certiorari was sought or has otherwise been dismissed with prejudice.

      40. “Grossi” means Jim Grossi, the principal and sole member of the
Debtor and the person authorized to perform the duties of the debtor in possession
during the Chapter 11 Case.

      41. “Initial Distribution Date” means the first Distribution Date following
the Effective Date, as set by the Liquidating Trustee.

      42.    “IRS” means the Internal Revenue Service.

     43. “IRS Claim” means that proof of Claim [Claim No. 17-1 or as later
amended] filed by the IRS.
     44. “Lien” means a charge against, or an interest in property to secure
payment of a debt or performance of an obligation.
      45. “Liquidating Trust” means the trust created pursuant to the Liquidating
Trust Agreement which will be part of the Plan Supplement.

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          46. “Liquidating Trust Agreement” means that agreement approved under
   the Plan through entry of the Confirmation Order by which the Liquidating Trustee
   is appointed to administer the Liquidating Trust.

          47. “Liquidating Trustee” means Paul R. Hage, the Liquidating Trustee
under the Liquidating Trust, who is being appointed pursuant to this Plan or any
Successor Trustee as defined by and provided for under the Liquidating Trust
Agreement.

        48. “Other Priority Claims” means Claims accorded priority in right of
   payment under section 507(a) of the Bankruptcy Code, other than Priority Tax
   Claims.

         49.    “Peninsula” means The Peninsula Fund VII Limited Partnership,

         50.    “Petition Date” means April 12, 2023.

         51. “Plan” means this plan of liquidation, either in its present form or as it
   may be altered, amended, modified or supplemented from time to time in accordance
   with the Bankruptcy Code, the Bankruptcy Rules or herewith, as the case may be,
   and the Plan Supplement (if any), which is incorporated herein by reference.

         52. “Plan Supplement” includes the compilation of documents and forms
   of documents, schedules and exhibits to be filed prior to the Confirmation Hearing,
   comprising of, without limitation, the following documents: (a) the Liquidating
   Trust Agreement; (b) the list of preserved Causes of Action, including the Avoidance
   Actions; and (c) the list of executory contracts to be assumed [ECF Nos. 302 and
   303], plus any subsequent amendments thereto filed by the Debtor prior to the
   Confirmation Hearing.

           53. “Post-Confirmation Committee” means the reconstituted Committee
   that is willing to serve solely in an advisory capacity after the Confirmation Date to
   advise and to consult with the Liquidating Trustee.

          54. “Priority Tax Claims” means Claims of governmental units of the kind
   specified in section 507(a)(8) of the Bankruptcy Code.

         55. “Priority Claim” means a Claim under or entitled to priority under
   section 507(a) of the Bankruptcy Code.

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      56.   “Priority Creditor” means a Creditor who asserts a Priority claim.

       57. “Professional Fee Escrow Account” means that account established by
the Debtor under the Stipulated Final Order Authoring Use of Cash Collateral and
Granting Adequate Protection [ECF No. 144] and First Amended Stipulated Final
Order Authorizing Use of Cash Collateral and Granting Adequate Protection [ECF
No. 269] in the aggregate amount of $600,000 for the payment of Accrued
Professional Compensation to the Retained Professionals, with $350,000 being
allocated to the Committee Retained Professionals and $250,000 being allocated to
the Debtor Retained Professionals, fifty percent (50%) of which shall be funded by
Auxo by September 28, 2023 and fifty percent (50%) of which shall be funded by
Auxo by December 1, 2023. To the extent that any amounts remain in the
Professional Fee Escrow Account after all Accrued Professional Compensation is
approved by Final Order of the Bankruptcy Court, such remaining amounts shall be
transferred to the Liquidating Trustee for payment of professional fees and expenses
incurred by the Liquidating Trustee and his professionals in administering the
Liquidating Trust, including the prosecution of Causes of Action assigned to the
Liquidating Trust.

      58. “Qui Tam Complaint” means that complaint filed by the United States
of America against the Debtor and Grossi, alleging violations under the False Claims
Act, 31 U.S.C. §§ 3729 et seq., the Anti-Kickback Statute, 42 U.S.C. § 1320a-7b,
and the Michigan Medicaid False Claims Act, MCL 400.601 et seq.

       59. “Remaining Assets” means those assets of the Estate that are not
transferred by the Sale, and, thus, ownership of which shall be vested in the
Liquidating Trust on the Effective Date.

      60. Intentionally Omitted.
      61. “Retained Professional” means a person or entity employed in the
Chapter 11 Case pursuant to a Final Order in accordance with sections 327 and 1103
of the Bankruptcy Code, to be compensated for services rendered prior to the
Effective Date, pursuant to sections 327-331 of the Bankruptcy Code.

       62. “Sale” means the Order: (I) Authorizing the Sale of Substantially All
of the Debtor’s Assets Pursuant to § 363 of the Bankruptcy Code, Free and Clear of
All Liens, Claims, Interests and Encumbrances; (II) Authorizing and Approving the
Terms of the Debtor’s Asset Purchase Agreement and Related Agreements and

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Authorizing the Consummation of the Transactions Contemplated Therein Including
the Assumption and Assignment of Certain Specified Executory Contracts and
Unexpired Leases; and (III) Granting Related Relief [ECF No. 279].

      63. “Schedules” means the schedules of assets and liabilities, schedules of
executory contracts and statements of financial affairs filed by the Debtor in the
Chapter 11 Case, as may be amended from time to time.

       64. “Secured Claim of Auxo” means the Allowed Claim of Auxo (as
reflected in the proofs of Claim filed by Comerica and Peninsula, plus such amounts
advanced by Auxo to provide funding to the Debtor during the Chapter 11 Case, less
the Credit Bid.

      65. “Secured Claims” means: (a) Claims that are secured by a lien on
property in which the Estate has an interest, to the extent of the value of the Claim
holder’s interest in the Estate’s interest in such property, which liens are valid,
perfected and enforceable under applicable law or by reason of a Final Order, as
determined pursuant to the Bankruptcy Code, and (b) Claims which are Allowed
under the Plan as a Secured Claim.

     66. “Special Counsel” means Amy Thomas, Esq. and Only One Hub d/b/a
Primus Health, appointed by the Court.

      67.    “USA” means the United States of America.

      68. “USA Setoff Claim” means the Secured Claim asserted by the USA as
described in Art. III, Class 5.

      69.    “U.S. Trustee” means Office of the United States Trustee.

      70. “U.S. Trustee Fees” means those statutory fees owed to the U.S. Trustee
under 28 U.S.C. § 1930(a)(6).

     71. “Unsecured Claim” means a Claim that is not a Secured Claim, an
Administrative Claim nor a Priority Claim.

     72.     “Unsecured Creditor” shall mean any Creditor that holds an Unsecured
Claim.


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                           ARTICLE II
            TREATMENT OF CLAIMANTS NOT SUBJECT TO
           CLASSIFICATION OR OTHERWISE NOT REQUIRED
                TO VOTE FOR OR AGAINST THE PLAN

       For the purposes of approval and implementation of this Plan and the resultant
liquidation of the Debtor, Administrative Creditors and Priority Creditors shall be
paid on account of their respective Administrative and Priority Claims in accordance
with the provisions set forth below.

        2.1 ADMINISTRATIVE EXPENSES. It is estimated that there are
approximately $1,170,477 in unpaid Administrative Claims that have been asserted
against the Debtor’s estate, exclusive of United States quarterly fees and Accrued
Professional Compensation. Unless paid prior to the Effective Date, the Allowed
Administrative Claims shall be paid the full amount of their Allowed Claims, on
such date as may be mutually agreed upon between Liquidating Trustee and the
holder of the Administrative Claim, or, if no such date is agreed upon, the latest of
(i) as soon as reasonably practicable thirty (30) days after the Effective Date, (ii) the
date by which payment would be due in the ordinary course of business between
Debtor and the holder of such Administrative Claim, (iii) the date on which the
Bankruptcy Court enters its order, if necessary, approving Debtor’s payment of such
Allowed Administrative Claim, or (iv) by the Liquidating Trustee upon entry of an
order approving the allowance and payment of such Administrative Claim. The
amounts owed to the United States Trustee prior to the Effective Date shall be paid
as they come due, but in no event, as soon as reasonably practicable thirty (30) days
after the Effective Date, and sufficient monies shall be escrowed by the Liquidating
Trustee for the payment of such amounts that come due after the Effective Date.

      The Administrative Expenses shall also include the Accrued Professional
Compensation that shall be paid from the Professional Fee Escrow Account upon
the entry of a Final Order approving the Accrued Professional Compensation. If
there are insufficient funds in the Professional Fee Escrow Account to pay the
Allowed amount of the Accrued Professional Compensation, then the remaining
Allowed amount shall be paid from the proceeds of the Causes of Action.

       2.2 PRIORITY CLAIMS. Priority Creditors entitled to receive priority
for their Allowed Claim under section 507(a) of the Bankruptcy Code shall be paid
on the later of (i) as soon as reasonably practicable thirty (30) days after the Effective
Date, or (ii) when such claims are Allowed.

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                           ARTICLE III
             SPECIFICATION OF TREATMENT OF CLASSES
                     OF CLAIMS OR INTERESTS

       The Plan divides Claims and Interests into Classes and treats them as follows,
all of which are impaired unless noted:

 Class              Claimant                    Treatment for Claims in this Class
 Class 1            Auxo                        This Class shall be paid the amount of its
                                                Secured Claim, less any credit bid that it
                                                made pursuant to the Sale if
                                                consummated, plus any amounts
                                                advanced by it during the Chapter 11
                                                Case to fund administrative expenses, to
                                                be paid pursuant to the priority
                                                provisions of the Bankruptcy Code, less
                                                the Carveouts.
                                                Auxo shall retain its Lien until it has been
                                                paid in full. Auxo has a first priority Lien
                                                on all assets of the Debtor, prepetition and
                                                postpetition, other than the Causes of
                                                Action.

                                                This Class is impaired.
 Class 2            LABarrington                LABarrington has asserted a security
                                                interest in the following equipment: One
                                                UN-3000N Automated Urinalysis
                                                System. Debtor will surrender its interest
                                                in this equipment to LABarrington in
                                                full satisfaction of its Claim.

                                                This Class is impaired.




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 Class 3          Team Financial               Team Financial Group has asserted a
                  Group                        security interest in the equipment listed
                                               in proofs of claim #60-#71. Debtor will
                                               surrender its interest in this equipment to
                                               Team Financial Group. Team Financial
                                               Group shall have the right to file an
                                               amended Proof of Claim within sixty
                                               (60) days of entry of the Confirmation
                                               Order for the difference between what it
                                               is owed and the amount that it received
                                               on liquidation of its equipment (the
                                               “Team Financial Group Deficiency
                                               Claim”). The Team Financial Group
                                               Deficiency Claim shall be treated under
                                               Class 4 and shall be capped at a
                                               maximum of $300,000.

                                               This Class is impaired.
 Class 4          Unsecured Claims             This Class shall be paid pro rata
                                               pursuant to the priority of payment as set
                                               forth in the Bankruptcy Code to the
                                               extent of available funds. This Class
                                               includes any non-priority, general
                                               unsecured Claims against the Debtor
                                               filed by the USA except to the extent
                                               such Claim is part of the USA Setoff
                                               Claim.

                                               This Class is impaired.
 Class 5          USA Setoff Claim             The USA possesses offset rights as to
                                               (a)    prepetition      federal   tax
                                               overpayments and (b) payments for
                                               Medicare Part B services provided by
                                               Ark Laboratory before the Petition
                                               Date pursuant to the provisions,
                                               regulations, policies, and procedures
                                               promulgated under Title XVIII of the
                                               Social Security Act, 42 U.S.C. §§
                                               1395 et. seq. (collectively, the
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                                               “Medicare Statute”), against all debt
                                               owed by the Debtor to the USA,
                                               including any debt for IRS
                                               prepetition tax Claims and/or the
                                               DOJ Claim. The United States placed
                                               a temporary administrative freeze on
                                               each of these payments that, to date,
                                               total no less than $180,494 (Medicare
                                               Part B services) and $34,391
                                               (prepetition         federal      tax
                                               overpayment).

                                               Upon confirmation, the stay is lifted
                                               as to the United States’ setoff rights
                                               and the United States shall be
                                               permitted to effect any and all offsets
                                               of prepetition payments held or owed
                                               by the United States against
                                               prepetition Claims of the United
                                               States.

                                               The value of the USA Setoff Claim is
                                               equal to the amount of Claims offset
                                               by the United States. The remainder
                                               of the United States’ Claims, to the
                                               extent not otherwise entitled to
                                               classification as a Priority Tax Claim,
                                               shall be Class 4 Unsecured Claims.

                                               Notwithstanding the above, the rights
                                               of any party in interest to object to the
                                               Claims of the United States, to the
                                               extent they exist, are preserved
                                               except as expressly stated in the
                                               Second Amended Plan or in this
                                               Order Confirming Plan.

                                               This Class is unimpaired.


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 Class 6             Class of Equity             This Class shall retain its Interest and
                     Security                    shall be paid pro rata consistent with the
                     Holders                     priority of payment as set forth in the
                                                 Bankruptcy Code to the extent of
                                                 available funds, subject to any recoveries
                                                 from Causes of Action brought by the
                                                 Committee or the Liquidating Trustee
                                                 under the Plan and the Liquidating Trust.

                                                 This Class is impaired.

                            ARTICLE IV
               MEANS FOR IMPLEMENTATION OF THE PLAN

A.         Implementation on the Effective Date

      The Plan shall become effective on the Effective Date, unless otherwise
provided in the Plan or the Confirmation Order.

B.     Means of Implementing the Plan
      1.      Sale Proceeds.

       Under the terms of the amended notice of Sale Motion [ECF No. 247], Auxo
reduced the Purchase Price as the Successful Purchaser from $6,400,000 to
$4,857,477 and, assuming that it remains the Successful Purchaser at the Sale
Hearing, the Purchase Price will be allocated as follows: a credit bid of $2,000,000
as the Credit Bid; plus the following amounts being paid on behalf of the estate: (a)
$600,000 for the Professional Fee Carveout, (b) $1,170,477 for the payment of
Allowed Administrative Claims, (c) $162,000 for payment of Allowed Priority
Claims, (d) such amounts as required to pay the U.S. Trustee’s Fees for the
distributions to be made to the Allowed Administrative Claims, the Allowed
Priority Claims and the Accrued Professional Compensation under the Plan; plus
funding in the amount of $1,025,000 provided by Auxo under the Final Cash
Collateral Order through the closing on the Sale, and (e) funding the costs of an
E&O Insurance Policy for the Liquidating Trustee on the Effective Date.

      2.      Covid Testing Claims.
      The net recoveries from the Covid Testing Claims, after payment of such
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amounts owed to Special Counsel, if recovered prior to the Effective Date, shall be
distributed by the Debtor and, if recovered after the Effective Date, shall be
distributed by the Liquidating Trustee, as follows: (a) the first $9.2 million shall be
distributed to Auxo, (b) the next $1.0 million to the Liquidating Trustee for pro rata
payment of the Allowed Claims of the Unsecured Creditors, (c) then, once Auxo
receives eighty percent (80%) of the amount owed on its Allowed Secured Claim,
each dollar received thereafter by the Liquidating Trustee shall be split with fifteen
percent (15%) of such recoveries for pro rata payment of the Allowed Claims of the
Unsecured Creditors and eighty-five percent (85%) of such recoveries for payment
of the Allowed Secured Claim of Auxo until Auxo is paid in full on its Allowed
Secured Claim. Thereafter, all such recoveries, net of fees and expenses of the
Liquidating Trust, shall be paid pro rata to the Allowed Claims of the Unsecured
Creditors.

       3.    Causes of Action. The holders of Allowed Unsecured Claims shall
receive, on a pro rata basis, the net proceeds of the Causes of Action, including the
Avoidance Actions, after payment first in full of the fees and costs of the Liquidating
Trustee and his professionals and then for all Accrued Professional Compensation
Claims owed to the Retained Professionals to the extent of any deficiency owed to
them beyond the Professional Fee Escrow.

       4.     Transfer of Proceeds. On the Effective Date, any proceeds of the Sale
after satisfaction of the Allowed Administrative Claims, the Allowed Priority Claims
and the Accrued Professional Compensation, shall be transferred to the Liquidating
Trustee.

       5.    Causes of Action and Covid Testing Claims. The Liquidating Trustee
shall prosecute the Causes of Action and the Covid Testing Claims to the extent
practicable and to the extent it determines that pursuing some or all of the Causes of
Action and the Covid Testing Claims are prudent and will maximize the value of the
assets held by the Liquidating Trust for distribution to the Beneficiaries of the
Liquidating Trust, as provided under the Liquidating Trust Agreement. The
Liquidating Trustee shall make such determinations after consultation with the Post-
Confirmation Committee, and Auxo (until Auxo is paid in full on its Secured Claim).
Upon the Confirmation Date, Special Counsel and its rights under its order
authorizing its retention entered by the Bankruptcy Court shall be assigned to the
Liquidating Trustee, upon the same terms and conditions as authorized by the
Bankruptcy Court, including its rights to compensation for prosecuting and
recovering the Covid Testing Claims that are preserved and shall survive the

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Effective Date of the Plan.

       6.    Preservation of Causes of Action. Except as expressly provided
herein, and unless expressly waived, relinquished, exculpated, released,
compromised or settled in the Plan, or an agreement entered into or delivered in
connection with the Plan, the Liquidating Trust will exclusively retain and may
enforce, as the representatives of the Estate under section 1123(b)(3)(B), and the
Debtor expressly reserves and preserves for these purposes, in accordance with
sections 1123(a)(5)(B) and 1123(b)(3) of the Bankruptcy Code, all Causes of Action,
including but not limited to those set forth on Exhibit B to the Plan and in the Plan
Supplement, that the Debtor or the Estate may hold against any person or entity,
which shall vest in the Liquidating Trust, under the control of the Liquidating
Trustee. Accordingly, no preclusion doctrine, including, without limitation, the
doctrines of res judicata, collateral estoppel, issue preclusion, claim preclusion,
estoppel (judicial, equitable or otherwise) or laches shall apply to such Causes of
Action by virtue of, or in connection with, the confirmation, consummation of
effectiveness of this Plan. The Liquidating Trustee or his successors or assigns
exclusively may pursue such retained claims, demands, rights or Causes of Action,
per the terms of the Liquidating Trust. For purposes of clarification, Debtor’s rights
pursuant to the Sale and the Asset Purchase Agreement authorized by the Sale, are
preserved.

      7.     Vesting of Assets of Estate. Upon the Confirmation Date and subject
only to the terms of this Plan, all Remaining Assets of the Debtor and the Estates,
wherever situated, shall vest in the Liquidating Trust, free and clear of all liens,
claims, encumbrances and interests, except as otherwise expressly provided herein.
The Remaining Assets will continue to be administered, liquidated, and distributed
by the Liquidating Trustee pursuant to the Plan and the Liquidating Trust
Agreement. If the Sale has not been consummated by the Confirmation Date, the
Liquidating Trustee shall consummate the Sale. In the event of conversion of this
case post-confirmation to a case under Chapter 7 of the Bankruptcy Code, all
property that vested in the Debtor, Debtor-in-Possession, Reorganized Debtor,
Liquidating Trustee or any Successor to the Debtor or Successor Trustee pursuant to
the confirmed Plan or under 11 U.S.C. § 1141, or that was otherwise acquired post-
confirmation, other than the funding provided to the Liquidating Trustee under the
Second Amended Stipulated Final Order Authorizing Use of Cash Collateral and
Granting Adequate Protection [ECF No. 370] or any amendment thereof, will
become property of the Chapter 7 estate.


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      8.    Execution of the Liquidating Trust Agreement. On or before the
Confirmation Hearing, the Liquidating Trustee and the Debtor on behalf of
themselves and the Estate, will execute the Liquidating Trust Agreement.

       9.    Appointment of the Liquidating Trustee. Upon entry of the
Confirmation Order, the Liquidating Trustee shall be authorized to execute
documents on behalf of the Debtor and the Estate. Paul R. Hage, a partner with Taft
Stettinius & Hollister, LLP, shall be the Liquidating Trustee.

       10. Powers and Responsibilities of Liquidating Trustee.                   The
Liquidating Trustee will be in control of and authorized and empowered to carry out
the terms and conditions of this Plan and the Liquidating Trust Agreement and will
have those responsibilities created by this Plan and the Liquidating Trust Agreement
upon the terms and conditions summarized therein, and will, for the benefit of the
Beneficiaries, exercise the rights and powers vested in it by this Plan and the
Liquidating Trust Agreement in the same manner, and use the same degree of care
and skill in his exercise as a prudent person would exercise and use under the
circumstances in the conduct of the Liquidating Trustee’s own affairs, and further
agrees to receive and disburse all of the Remaining Assets in accordance with the
terms of this Plan and the Liquidating Trust Agreement. More specifically, without
limitation, the Liquidating Trustee shall have the right, power, authority, standing,
and approval, and shall be empowered to:
      (a) perform all of the obligations and agreements of the Plan and the
Liquidating Trust Agreement provided for herein;

       (b) keep and maintain in a trust account for the benefit of the Liquidating
Trust into which proceeds resulting from the initial receipt or from the Sale or other
disposition of, or from the income resulting from, all or any part of the liquidation
of Debtor’s Assets and/or the prosecution of Causes of Action and/or the proceeds
of the Covid Test Claims;

      (c) keep and maintain trust accounts for the benefit of the Liquidating Trust
into which accounts the Liquidating Trustee may place Disputed Claim Reserves;

      (d) establish and maintain Distribution Reserve Accounts for the holders
of Disputed Claims;


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      (e) commence, continue, prosecute, litigate, and/or settle and compromise
Claims, Causes of Action and the Covid Testing Claims, including the taking of
examinations or requesting the production of documents pursuant to
Fed.R.Bankr.P. 2004, by or against the Debtor and third parties on behalf of the
Liquidating Trust and for the benefit of the Beneficiaries thereof (except as
expressly provided in the Plan or any order entered in the Chapter 11 Case
(including the Confirmation Order), the Liquidating Trustee will have and shall
retain after the Confirmation Date any and all rights and defenses that the Debtor
had with respect to any Claim as of the Petition Date; provided, however, all Claims
of any Entity subject to section 502(d) of the Bankruptcy Code shall be deemed
disallowed as of the Effective Date unless and until such Entity pays in full the
amount that it owes the Debtor or the Estate; provided, however:

            (i) Before the Liquidating Trustee can compromise or settle the Covid
      Testing Claims for less than their face value, the Liquidating Trustee shall
      consult with the Post-Confirmation Committee, Auxo and Special Counsel
      over the risks and benefits associated with settling the Covid Testing Claims;

            (ii) Until the Covid Testing Claims have resulted in a net recovery of
      $9.2 million, the Trustee shall take into special consideration Auxo’s position
      and its Allowed Secured Claim in the Covid Testing Claims with respect to
      any compromise or settlement of the Covid Testing Claims, after consultation
      with Auxo and the Post-Confirmation Committee;

            (iii) Once the Covid Testing Claims have resulted in a net recovery of
      at least $10.2 million, the Trustee shall give consideration to Auxo’s position
      with respect to any compromise proposed by Special Counsel until Auxo has
      received eighty percent (80%) on account of its Allowed Secured Claim, but
      prior to that time, the Trustee shall exercise his business judgment in deciding
      whether to compromise the Covid Testing Claims; and

           (iv) If a dispute arises as to whether the Covid Testing Claims should
      be compromised, the Trustee or Auxo may seek a ruling from the Bankruptcy
      Court.

       (f)   object to any Claims (disputed or otherwise) at any time prior to the
Distribution Date and to settle, compromise, withdraw, or litigate to judgment,
objections to any and all Claims, regardless of whether the Claim was scheduled by
Debtor and classified as undisputed, liquidated, and non-contingent, or otherwise,

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and to seek subordination of any Claim under the Bankruptcy Code or any other
authority;

      (g) make Distributions in respect of Allowed Claims subsequent to the
Effective Date in accordance with the Plan and the Liquidating Trust Agreement;
     (h) take any actions necessary to the collection, receipt, or disposition of
any Remaining Assets;

      (i)    execute and deliver all releases, satisfactions, and termination
statements as may be required in connection with full payment of any debt obligation
secured by any Lien or security interest;

       (j)    retain and/or terminate professional persons without Bankruptcy Court
approval, in the Liquidating Trustee’s discretion, to assist in the duties and
responsibilities ascribed to him under this Plan and the Liquidating Trust Agreement.
The reasonable fees and expenses of all professionals retained by the Liquidating
Trustee shall be paid from the Remaining Assets without Bankruptcy Court approval
or as provided in the Liquidating Trust Agreement;
       (k) satisfy all reporting requirements for the Liquidating Trust, and all
assets held by or on behalf of the Liquidating Trust, to the relevant reporting
authority;

      (l)    file with the Bankruptcy Court reports regarding the liquidation or other
administration of property comprising the Remaining Assets, the distributions made
by the Liquidating Trust, and other matters required to be included in such report;
and

      (m) except as otherwise ordered by the Bankruptcy Court, and subject to
the terms of the Plan and the Liquidating Trust Agreement, pay any fees and
expenses incurred by the Liquidating Trust on or after the Effective Date in
accordance with the Liquidating Trust Agreement and without Bankruptcy Court
approval.

      11.    Sources for Plan Distribution.

      (i)    It is contemplated that all of the funds necessary for the Debtor or the
Liquidating Trustee to make payments of Cash pursuant to the Plan shall be obtained
from the following sources: (a) the Debtor’s Cash on hand, (b) the proceeds of the
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Sale, (c) Cash funding provided by Auxo to pay the Allowed Administrative Claims,
the Allowed Priority Claims, the U.S. Trustee fees, and the Accrued Professional
Fees, (d) Cash received in liquidation of the Remaining Assets of the Debtor, and
(e) the proceeds of Causes of Action and the Covid Testing Claims.

       (ii) On or before January 18, 2024, Auxo shall wire transfer to the
Liquidating Trustee such funds required to pay all Administrative Claims and
Priority Claims, plus the amounts necessary and sufficient to pay the U.S. Trustee
fees associated with distributions on such claims by the Liquidating Trustee. The
Liquidating Trustee shall promptly pay all Allowed Administrative Claims and
Priority Claims, as provided in the Plan and the Liquidating Trust Agreement. To
the extent, however, such Administrative Claims and Priority Claims have not been
Allowed, the Liquidating Trustee shall deposit the remaining funds into a
Distribution Reserve account, as provided under the Plan and the Liquidating Trust
Agreement. Such funds shall remain in the Distribution Reserve account until the
remaining Administrative Claims and Priority Claims become Allowed Claims or a
determination is made that the particular Administrative Claim or Priority Claim
shall not be allowed, and are paid by the Liquidating Trustee from the Distribution
Reserve account to the extent they are Allowed Claims; provided, however, if a
creditor files a motion seeking allowance of an administrative claim that was neither
budgeted, nor reflected in the Debtor’s books and records, then Auxo shall not be
required to fund the payment of that claim for distribution by the Liquidating
Trustee, plus the amounts necessary and sufficient to pay the U.S. Trustee fees
associated with distributions on such claims by the Liquidating Trustee until ten (10)
day after entry of a Final Order allowing that claim. After the Trustee has paid all
Allowed Administrative Claims and Priority Claims, the Liquidating Trustee shall
disburse any remaining funds in the Distribution Reserve account to Auxo.

      12.    Exculpation and Indemnification.

       (a) Exculpation: Neither the Debtor, the Debtor’s Estate, the Debtor-in-
Possession, or the Committee, nor the firms or corporations representing them, or
any of their employees, professionals or agents, shall in any way be liable for any
acts of any of their employees, professionals or agents, except for acts undertaken
by them in bad faith, gross negligence, fraud or willful misconduct, in the
performance of their respective duties from the Petition Date to the Effective Date.

      (b) Indemnification: The Liquidating Trust hereby agrees to indemnify,
defend and hold harmless the Liquidating Trustee and the Post-Effective Committee,

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the firms or corporations representing them, and their employees, professionals and
agents, for any and all audits, claims, demands, legal actions, damages, liabilities,
repayment obligations, fines, penalties, interest and costs of every kind, which may
arise after the Effective Date asserted against them, including but not limited to
attorney’s fees and costs and expenses, incurred in connection with the
administration of the Liquidating Trust, except for acts undertaken by them in bad
faith, gross negligence, fraud or willful misconduct, in the performance of their
respective duties. Subject to the Liquidating Trust Agreement, the Liquidating
Trustee shall be entitled to enjoy all of the rights, powers, immunities and privileges
provided under the Barton Doctrine (Barton v. Barbour, 104 U.S. 126 (1881)).
Persons dealing or having any relationship with the Liquidating Trustee shall have
recourse only to the Trust Assets (as defined in the Liquidating Trust Agreement)
and shall look only to the Trust Assets (as defined in the Liquidating Trust
Agreement) to satisfy any liability or other obligations incurred by the Liquidating
Trustee to such Person in carrying out the terms of the Liquidating Trust Agreement
or the Plan.

      13.    Equity of Debtor

       As of the Confirmation Date, Mr. Grossi will continue to be the sole member
of the Debtor.

      14.    Corporate Action

       (a) On, or after the Confirmation Date, as applicable, all matters provided
for hereunder that would otherwise require approval of the members or managers of
the Debtor shall be deemed to have been so approved pursuant to applicable state
law, without any requirement of further action by members or managers of the
Debtor.

      (b) The Debtor and the Liquidating Trustee are authorized to execute,
deliver, file, or record such contracts, instruments, releases and other agreements or
documents and take such actions as may be necessary or appropriate to effectuate,
implement and further evidence the terms and conditions hereof.

      15.    Allowed Claims

       Notwithstanding any provision herein to the contrary, the Liquidating Trustee
shall only make Distributions to holders of Allowed Claims. No holder of a Disputed

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Claim will receive any Distribution on account thereof until (and then only to the
extent that) its Disputed Claim becomes an Allowed Claim. The Liquidating Trustee
may, in its discretion, withhold Distributions otherwise due hereunder to any Claim
holder until the Claims Objection Deadline to enable a timely objection thereto to
be filed. Any holder of a Claim that becomes an Allowed Claim after the Effective
Date will receive its Distribution in accordance with the terms and provisions of this
Plan and the Liquidating Trust Agreement. The Debtor and the Liquidating Trustee
have no obligation to object to claims where there are insufficient monies to pay
those claims. The Liquidating Trustee shall have the standing accorded to the Debtor
after the Confirmation Date.

      16. Confirmation where a class of claims has not accepted their
treatment under the Plan or where a party in interest has objected to
confirmation
      Debtor reserves the ability to confirm the Debtor’s Plan, as amended, over the
objection of any party in interest, and any class of claims that has not accepted their
treatment under the Plan pursuant to, inter alia, 11 U.S.C section 1129(b).

                        ARTICLE V
     TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED
                         LEASES

A.    Assumption and Rejection of Executory Contracts and Unexpired Leases

      1.     Any executory contracts and unexpired leases that are listed in the Plan
Supplement as executory contracts or unexpired leases to be assumed, or are to be
assumed pursuant to the terms hereof, shall be deemed assumed by the Debtor as of
date of entry of the Confirmation Order, and the entry of the Confirmation Order by
the Bankruptcy Court shall constitute approval of any such assumptions pursuant to
section 365(a) and 1123 of the Bankruptcy Code. To the extent necessary, any such
executory contracts shall be treated as being assigned to the Liquidating Trustee, and
any requirements to demonstrate adequate assurance of future performance shall be
deemed to have been satisfied.

       2.    Any executory contracts and unexpired leases that have not expired by
their own terms on or prior to the Effective Date, which the Debtor has not assumed
or rejected during the Chapter 11 Case, which are not identified on Exhibit C to the
Plan or in the Plan Supplement as executory contracts or unexpired leases to be

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assumed, which are not assumed pursuant to the terms hereof, and which are not
subject of a motion pending as of the Effective Date to assume the same, shall be
deemed rejected by the Debtor as of the entry of the Confirmation Order, and the
entry of the Confirmation Order by the Bankruptcy Court shall constitute approval
of any such rejections pursuant to the Bankruptcy Code.

B.    Claims Based on Rejection of Executory Contracts or Unexpired Leases

       All proofs of Claim arising from the rejection of executory contracts or
unexpired leases must be filed within thirty (30) days after the later of: (i) the date
of entry of an order of the Bankruptcy Court approving any such rejection; or (ii) the
Effective Date. Any Claims arising from the rejection of an executory contract or
unexpired lease for which proofs of Claim are not timely filed within that time period
will be forever barred from assertion against the Debtor, the Estate, the Liquidating
Trust, their successors and assigns, and their assets and properties, unless otherwise
ordered by the Bankruptcy Court or as otherwise provided herein. All such Claims
shall, as of the Effective Date, be subject to the provisions in Article IX of the Plan,
including the permanent injunction.

C.   Cure of Defaults for Executory Contracts and Unexpired Leases
Assumed Pursuant to the Plan
       Any monetary amounts by which any executory contract and unexpired lease
to be assumed pursuant to the Plan or otherwise is in default shall be satisfied,
pursuant to section 365(b)(1) of the Bankruptcy Code, by payment of the default
amount in Cash on or as soon as practicable after the Effective Date or on such other
terms as the parties to each such executory contract or unexpired lease may otherwise
agree. In the event of a dispute regarding the amount of a cure payment, “adequate
assurance of future performance” (within the meaning of section 365 of the
Bankruptcy Code), or any other matter pertaining to assumption or assignment: (i)
the Debtor or Liquidating Trustee, as applicable, retains the right to reject the
applicable executory contract or unexpired lease at any time prior to the resolution
of the dispute; and (ii) cure payments shall only be made following the entry of a
Final Order resolving the dispute or the agreement of the counter-party and the
Debtor or Liquidating Trustee.

D.    Assumption of D&O Insurance Policies

       As of the Confirmation Date, the Debtor shall be deemed to have assumed all
of the Debtor’s unexpired directors’ and officers’ liability insurance policies in place
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with outside carriers pursuant to section 365(a) of the Bankruptcy Code. Entry of the
Confirmation Order will constitute the Bankruptcy Court’s approval of the foregoing
assumption of each of the unexpired directors’ and officers’ liability insurance
policies, whether or not such policies are identified on Exhibit C to the Plan or
scheduled in the Debtor’s schedules. All claims and rights granted under all such
policies shall transfer to the Liquidating Trust and the Liquidating Trustee is
authorized to pursue recovery against insurance policies for any Causes of Action
that are covered claims and/or covered wrongful acts as provided herein and as
further set forth in the Liquidating Trust Agreement.

                            ARTICLE VI
                PROVISIONS GOVERNING DISTRIBUTIONS

      A.     Distributions for Claims Allowed as of the Effective Date

       Except as otherwise provided herein or as may be ordered by the Bankruptcy
Court, the Liquidating Trustee shall make distributions as soon as reasonably
practicable on account of all Allowed Claims that are entitled to receive distributions
under the Plan and shall make further distributions to holders of Claims that
subsequently are determined to be Allowed Claims. Distributions shall be made
pursuant to the Distribution Schedule. The order of priority shall be as set forth in
Articles II and III herein.

      B.     Delivery of Distributions

        1.   Delivery of Distributions

      Distributions to holders of Allowed Claims shall be made to the holder of such
Claim as of the date of Distribution.

      2.     Address of Record

      The address of the holder of a Claim shall be, for purposes of Distributions
made pursuant to the Plan, the address set forth in any proof of Claim filed by such
holder or request for payment of an administrative expense, or, in the absence of
such a proof of Claim or request, the address set forth in the Debtor’s books and
records.


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      3.        Undeliverable Distributions

        Holding of Certain Undeliverable Distributions. If any Distribution to a
holder of an Allowed Claim is returned to the Liquidating Trustee as undeliverable,
no further Distributions shall be made to such holder unless and until the Liquidating
Trustee is notified in writing of such holder’s then-current address. Undeliverable
Distributions shall remain in the possession of the Liquidating Trustee until such
time as any such Distributions become deliverable. Undeliverable Cash shall not be
entitled to any interest, dividends or other accruals of any kind. As soon as
reasonably practicable, the Liquidating Trustee shall make all Distributions that
become deliverable. If the Liquidating Trustee is not able to deliver a Distribution
to a holder of an Allowed Claim, and more than six (6) months has elapsed since the
initial Distribution was returned as undeliverable, the Liquidating Trustee may
distribute those funds pursuant to the Distribution Schedule to other holders of
Allowed Claims.

           A.    Minimum Distribution

      Any other provision of the Plan notwithstanding, the Liquidating Trustee will
not be required to make Distributions of Cash less than $50 in value, and each such
Claim to which this limitation applies shall be deemed satisfied in full.

           B.    Setoffs

       The Debtor and Liquidating Trustee may, pursuant to section 553 of the
Bankruptcy Code or applicable non-bankruptcy law, set off against any Allowed
Claim and the Distributions to be made pursuant hereto on account of such Allowed
Claim (before any Distribution is made on account of such Allowed Claim), the
rights and Causes of Action of any nature that the Estate and the Liquidating Trust
may hold against the holder of any such Allowed Claim; provided, however, that
neither the failure to effect such a setoff nor the allowance of any Claim hereunder
shall constitute a waiver or release by the Debtor or the Liquidating Trustee of any
such rights and Causes of Action that the Debtor or the Liquidating Trustee may
possess against any such holder, except as specifically provided herein.




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                           ARTICLE VII
           CONDITIONS PRECEDENT TO THE EFFECTIVE DATE

      A.     Conditions Precedent to the Effective Date

       The following are conditions precedent to the Effective Date that must be
satisfied:

     1.     The filing of the 2022 U.S. Corporation Income Tax Return by the
Debtor with the IRS that shall be filed on or before December 15, 2023;

      2.     Entry of the Confirmation Order; and

      3.     The Confirmation Order becoming a Final Order.

      B.     Waiver of Conditions

      Intentionally omitted.

      C.     Non-Occurrence of Conditions

        If the Effective Date does not occur by March 31, 2024, the Debtor may
determine upon notice to the Bankruptcy Court that the Plan shall be null and void
in all respects and nothing contained in the Plan or the Disclosure Statement shall:
(i) constitute a waiver or release of any Cause of Action or Claim; (ii) constitute an
admission, acknowledgement, offer or undertaking in any respect by any party,
including the Debtor; or (iii) otherwise prejudice in any manner the rights of any
party, including the Debtor.

                     ARTICLE VIII
   ALLOWANCE AND PAYMENT OF PROFESSIONAL FEE CLAIMS

       All final requests for payment of Accrued Professional Compensation must
be filed no later than sixty (60) days after the Effective Date. After notice and a
hearing, the Allowed amounts of Accrued Professional Compensation shall be
determined by the Bankruptcy Court. Any Retained Professional may also seek
authority to file an interim fee application seeking allowance and payment of
Accrued Professional Compensation prior to the Effective Date.


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                             ARTICLE IX
                 INJUNCTIVE AND RELATED PROVISIONS

      A.     Release of Claims and Termination of Equity Interests

      Intentionally omitted.

      B.     Temporary Injunction

       Except as provided in the Plan or the Confirmation Order, as of the Effective
Date, all entities that have, held, currently hold, or may hold a Claim, Equity Interest,
or other debt or liability will be temporarily enjoined from taking any of the
following actions on account of any such Claims, debts or liabilities or Equity
Interests or rights: (i) commencing or continuing in any manner any action or other
proceedings against the Liquidating Trust other than to enforce any right to a
distribution pursuant to the Plan; (ii) enforcing, attaching, collecting or recovering
in any manner any judgment, award, decree or order against the Liquidating Trust
other than as permitted pursuant to clause (i) above; (iii) creating, perfecting or
enforcing any lien or encumbrance against the Liquidating Trust; and (iv)
commencing or continuing any action, in any manner in any place that does not
comply with or is inconsistent with the provisions of the Plan or the Liquidating
Trust Agreement. The temporary injunction shall continue until the Liquidating
Trust no longer has assets to be distributed, at which time the Liquidating Trustee
immediately will file a notice of dissolution of the temporary injunction.
Notwithstanding anything to the contrary herein, the temporary injunction does not
preclude the holder of a Claim, Equity Interest, or other debt or liability from
pursuing claims against the Liquidating Trustee for breach of the Liquidating Trust,
for breach of his fiduciary duty, or any contract or tort claims as between the holder
of a Claim, Equity Interest, or other debt or liability, subject to such party first
seeking leave from the Bankruptcy Court to file suit against the Liquidating Trustee
pursuant to the Barton Doctrine.

      C.     No Discharge
      Pursuant to section 1141(d)(3) of the Bankruptcy Code, Confirmation will not
discharge the Debtor.




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                               ARTICLE X
                        RETENTION OF JURISDICTION

       Notwithstanding the entry of the Confirmation Order and the occurrence of
the Effective Date, the Bankruptcy Court shall, after the Effective Date, retain such
jurisdiction over the Chapter 11 Case and all Entities with respect to all matters
related to the Chapter 11 Case, to the fullest extent legally permissible, including but
not limited to, jurisdiction to:

       1.     Allow, disallow, determine, liquidate, classify, estimate or establish the
priority or secured or unsecured status of any Claim or Equity Interest, including the
resolution of any request for payment of any Administrative Claim and the resolution
of any and all objections to the allowance or priority of Claims or Equity Interests;

       2.     Grant or deny any applications for allowance of compensation or
reimbursement of fees or expenses authorized pursuant to the Bankruptcy Code or
the Plan, for periods ending on or before the Effective Date;

       3.     Resolve any matters related to the assumption of assignment or
rejection of any executory contract or unexpired lease to which a Debtor is party or
with respect to which a Debtor may be liable and to hear, determine and, if necessary,
liquidate, any Claims arising therefrom, including those matters related to any
amendment to the Plan after the Effective Date, and adding executory contracts or
unexpired leases to the list of executory contracts and unexpired leases to be
assumed;

     4.    Ensure that Distributions to holders of Allowed Claims are
accomplished pursuant to the provisions of the Plan;

        5.    Decide or resolve any motions, adversary proceedings, contested or
litigated matters and any other matters, and grant or deny any applications involving
a Debtor that may be pending on the Effective Date or instituted by the Liquidating
Trustee after the Effective Date, including the noticing and taking of examinations
or requests for production of documents under Fed.R.Bankr.Pro. 2004, and
otherwise adjudicate any matters preserved under the terms of the Plan and the
Liquidating Trust, provided, however, that the Liquidating Trustee shall reserve the
right to commence actions in all appropriate jurisdictions;



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       6.    Enter such orders as may be necessary or appropriate to implement or
consummate the provisions of the Plan and all other contracts, instruments,
releases, and other agreements or documents adopted in connection with the Plan
and Disclosure Statement and any Plan Supplement;
       7.    Resolve any cases, controversies, suits or disputes that may arise in
connection with the Effective Date, modification, interpretation or enforcement of
the Plan or any Entity’s obligations incurred in connection with the Plan;

      8.     Issue injunctions, enforce them, enter and implement orders or take
such other actions as may be necessary or appropriate to restrain interference by any
Entity with the Effective Date or enforcement of the Plan, except as otherwise
provided in the Plan;

       9.     Resolve any cases, controversies, suits or disputes with respect to the
releases, injunction and other provisions contained herein, and enter such orders as
may be necessary or appropriate to implement or enforce all such releases,
injunctions and other provisions;

      10. Enter and implement such orders as necessary or appropriate if the
Confirmation Order is modified, stayed, reversed, revoked or vacated;

      11.    Supervise collection of all Remaining Assets;

       12. Resolve any other matters that may arise in connection with or related
to the Plan, the Disclosure Statement, the Confirmation Order, the Liquidating Trust
or any contract, instrument, release, or other agreement or document adopted in
connection with the Plan or the Disclosure Statement;
       13. Enter an order and/or the decree concluding the Chapter 11 Case; and

     14. Otherwise enforce the provisions of the Plan and the Liquidating Trust
Agreement.

                              ARTICLE XI
                       MISCELLANEOUS PROVISIONS

      A. Post-Effective Date Professionals’ Fees and Final Fee Applications

      The Liquidating Trustee may pay reasonable, documented fees of Retained
Professionals incurred after the Effective Date, pursuant to and subject to the terms
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of the Liquidating Trust Agreement, without the necessity for Court approval. The
Liquidating Trustee shall retain current counsel for the Committee, Taft, Stettinius
& Hollister, LLP. The Liquidating Trustee shall retain the current financial advisor
for the Debtor, O’Keefe & Associates, and Debtor waives any potential conflict of
interest.

      B. Payment of Statutory Fees

      The Liquidating Trustee shall continue to pay to the United States Trustee the
appropriate sums required pursuant to 28 U.S.C. § 1930(a)(6) after the Effective
Date until such time as the Chapter 11 Case is closed by the Court.

      C. Modification of Plan

        Subject to the limitations contained in the Plan: (i) the Debtor reserves the
right, in accordance with the Bankruptcy Code and the Bankruptcy Rules, to amend
or modify the Plan prior to the entry of the Confirmation Order, including
amendments or modifications to satisfy section 1129(b) of the Bankruptcy Code;
and (ii) after the entry of the Confirmation Order, the Debtor may, and upon order
of the Bankruptcy Court, amend or modify the Plan in accordance with
section1127(b) of the Bankruptcy Code, or remedy any defect or omission or
reconcile any inconsistency in the Plan in such manner as may be necessary to carry
out the purpose and intent of the Plan.

      D. Revocation of Plan

       The Debtor reserves the right to revoke or withdraw the Plan prior to the entry
of the Confirmation Order and to file subsequent plans. If the Debtor revokes or
withdraws the Plan, or if entry of the Confirmation Order or the Effective Date does
not occur, then: (i) the Plan shall be null and void in all respects; and (ii) nothing
contained in the Plan shall: (a) constitute a waiver or release of any claims by or
against, or against, or any Equity Interests in, such Debtor or any other Entity; (b)
prejudice in any manner the rights of the Debtor or any other Entity; or
(c) constitute an admission of any sort by the Debtor or any other Entity.

      E. Successors and Assigns

      The rights, benefits and obligations of any Entity named or referred to herein
shall be binding on, and shall inure to the benefit of, any heir, executor,

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administrator, successor or assign of such Entity.

      F. Governing Law
      Except to the extent that the Bankruptcy Code, the Bankruptcy Rules, or other
applicable Federal law apply, and subject to the provisions of any contract,
instrument, release, or other agreement or document entered into in connection
herewith, the rights and obligations arising hereunder shall be governed by, and
construed and enforced in accordance with, the laws of the State of Michigan,
without giving effect to the principles of conflict of laws thereof.

      G. Closing of the Case

       The Liquidating Trustee, after consultation with the Office of the United
States Trustee, shall file a motion for the underlying Chapter 11 Case to be closed
when it deems closure to be prudent.

      H. Reservation of Rights

      Except as expressly set forth herein, the Plan shall have no force or effect
unless and until the Bankruptcy Court enters the Confirmation Order.

      I. Section 1146 Exemption

       Pursuant to section 1146(a) of the Bankruptcy Code, any transfers of property
pursuant hereto shall not be subject to any stamp tax, transfer tax or other similar tax
or governmental assessment in the United States, and the Confirmation Order shall
direct the appropriate state or local governmental officials or agents to forego the
collection of any such tax or governmental assessment and to accept for filing and
recordation, instruments or other documents pursuant to such transfers of property
without the payment of any such tax or governmental assessment. Any transfers in
connection with the Plan are deemed transferred subject to section 1146(a). To the
extent that the Sale has not been consummated prior to the Effective Date, the Sale
may be consummated by the Liquidating Trustee subject to the section 1146(a)
exemption as set forth herein.

      J. Intentionally Omitted

      K. Further Assurances

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      The Debtor, all holders of Claims receiving Distributions hereunder and all
other parties-in-interest shall, from time to time, prepare, execute and deliver any
agreements or documents and take any other actions as may be necessary or
advisable to effectuate the provisions and intent of the plan or the Confirmation
Order.

      L. Filing of Additional Documents
       On or before the Effective Date, the Debtor may file with the Bankruptcy
Court all agreements and other documents that may be necessary or appropriate to
effectuate and further evidence the terms and conditions hereof.

      M. No Stay of Confirmation Order

      The Confirmation Order shall contain a waiver of any stay of enforcement
otherwise applicable.

      N. Compromises and Settlements

       Pursuant to Bankruptcy Rule 9019(a), the Debtor may compromise and settle
various Claims (i) against it and (ii) that it has against other persons. The Debtor
expressly reserves the right (with Bankruptcy Court approval, following appropriate
notice and opportunity for a hearing) to compromise and settle Claims against it and
Claims that it may have against other persons up to and including the Confirmation
Date. After the Confirmation Date, such right shall pass to the Liquidating Trustee
and the Liquidating Trust shall be governed by the terms of the Liquidating Trust
Agreement.

      O. Payments on Disputed Claims

       Notwithstanding anything in this Plan to the contrary, neither the Debtor nor
the Liquidating Trustee shall be obligated to make any Distribution towards any
Disputed Claim. Further, neither the Debtor nor the Liquidating Trustee shall be
required to make any payments for an Allowed Claim to any Creditor if the Debtor
or the Liquidating Trustee has filed a motion, objection, adversary proceeding, state
court proceeding or other similar notice against such Creditor alleging an objection,
claim, cause of action, offset or counter-claim, such that if sustained and not paid by
such Creditor would result in a disallowance of such Allowed Claim in accordance
with section 502(d) of the Bankruptcy Code.

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      P. Records Retention.

      Debtor and the Liquidating Trustee shall comply with the provisions of the
proposed Sale Order regarding the retention of records, and any other applicable
Court Orders.

      Q. Inconsistency/What Governs.

      To the extent there is any inconsistency between the Plan, the Disclosure
Statement, the Liquidating Trust Agreement and the Confirmation Order, the
Confirmation Order shall control; provided, however, as relates to the treatment
accorded to and the rights of the USA, the Plan shall control.

      R. Special Provisions as to the United States.

        Nothing in this Plan, the Plan Supplement or the Order Approving this Plan
discharges, releases, enjoins, bars, impairs or otherwise precludes (a) any obligation
or liability owed to the United States that is not a “claim” within the meaning of
section 101(5) of the Bankruptcy Code, (b) any claim of the United States arising
after the Sale Date, (c) any obligation or liability of any entity or person under police
or regulatory statutes or regulations to any Governmental Unit as the owner, lessor,
lessee, licensee, or operator of property or rights to property that such entity or
person owns, operates, licenses, or leases after the Sale Date; (d) any right, defense,
claim, suit or cause of action of, or obligation or liability owed to, the United States
on the part of any non-debtor; or (e) the enforcement of the United States’ police or
regulatory powers. Further, nothing in this Plan, the Plan Supplement or the Order
Approving this Plan (i) authorizes the transfer of any licenses, permits, registrations,
or governmental authorizations and approvals without compliance with all
applicable legal requirements under non-bankruptcy law governing such transfers or
(ii) restricts or limits the United States’ rights of setoff and recoupment.

      S. Plan Default as to the United States.
      Upon any failure (i) to file any federal tax return due under the Second
Amended Plan or under applicable non-bankruptcy law, or (ii) to make any payment
due on any administrative, secured, priority, or general unsecured claim of the
United States, and which failure is not cured within 30 days of the mailing of a
written notice of default by the United States to Debtor, Debtor’s counsel of record,
and the Liquidating Trustee, the United States may exercise all rights and remedies

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applicable under non-bankruptcy law for the collection of its entire claim and/or seek
appropriate relief from this Court; provided, however, nothing contained in this
paragraph shall create an obligation by any party subject hereto.

                                 DEBTOR

                                 By:    _/s/James Grossi_
                                        James Grossi
                                 Its:   CEO and Managing Member

Prepared By:

By: /s/ Robert N. Bassel
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Attorneys for Debtor
P.O. Box T
Clinton, MI 49236
248.677.1234

Dated: November 30, 2023




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